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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

Cashman Equipment Corp.

             Plaintiff

v.                                                  Civil Action No. 21-10862-RGS

EMCs Caribbean LTD., Craig Noblett,
Nervin Wheatley, and Ashburn Harrigan

             Defendants

                               NOTICE OF DEFAULT


      Upon application of the plaintiff, Cashman Equipment Corp., for an order of
Default for failure of the defendants, EMCs Caribbean LTD., Craig Noblett,
Nervin Wheatley, and Ashburn Harrigan, to plead or otherwise defend as provided by
Rule 55(a) of the Federal Rules of Civil Procedure, notice is hereby given that the
defendants have been defaulted on October 7, 2021.



                                                    Robert M. Farrell,
                                                    Clerk of Court


                                                    By: /s/ Arnold Pacho
Date: October 7, 2021                               Deputy Clerk
